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                                                                                        United States District Court
                                                                                          Southern District of Texas

                                                                                             ENTERED
                                                                                          February 28, 2023
                        IN THE UNITED STATES DISTRICT COURT                               Nathan Ochsner, Clerk

                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


 XIONGEN JIAO, an individual, QIANJI
 JIAO, an individual, ZHONGHUA YI, an
 individual,   PENGFEI    ZHOU,      an
 individual, XUAMEI ZHOU, an individual,

  Plaintiffs,

 vs.
                                                     Case No.: 4:19-CV-01848
 NINGBO XU, an individual, and LCL
 COMPANY, LLC, a Texas Limited                       Judge: Hon. Keith P. Ellison
 Liability Company,

  Defendants,

 And

 DONGTAI INVESTMENT GROUP, LLC,
 a Texas Limited Liability Company,

  Nominal Defendant.


        The Court, having considered the Motion to Establish Procedures to Determine and/or

Disallow Disputed Claims Against the Receivership (the “Motion”) filed by Ronald J. Sommers,

Receiver (“Receiver”) for Dongtai Investment Group, LLC (“DIG”) and any responses and/or

replies filed regarding the Motion, and finds that the Motion should be GRANTED.           The Court

        FINDS that adequate notice has been provided to all interested parties to the receivership,

including all parties that have filed a claim in the DIG receivership (the “Receivership”), as well

as any party who has registered for notification via CM/ECF.       The Court further

        FINDS that the claimants have submitted to the jurisdiction of this Court for allowance,

estimation, or liquidation of their claims by virtue of their submission of a claim in this proceeding.

The Court further
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       FINDS that the procedures for summary proceedings to resolve any disputes regarding

those claims are fair and equitable to all claimants, promotes judicial economy, reduces litigation

costs, and preserve receivership assets. The Court further

       FINDS that the proposed procedures properly balance the need for an expeditious

administration of the receivership while maintaining the rights of the creditors. The Court,

therefore,

       HOLDS that it has jurisdiction to resolve any disputes regarding the claims filed with the

Receiver, including the allowance/disallowance, estimation, or liquidation of such claims. The

Court therefore

       ORDERS that the following schedule shall apply to the resolution of any disputes

regarding the claims filed with the Receiver:

                        Event/Deadline                                         Date

                        Claims Bar Date                                   March 1, 2023


      Deadline for Receiver to file a written statement of all            March 7, 2023
     individuals/entities having filed a claim and stating the
                       amount of the claim


    Deadline for the Receiver or any interested party to file a           March 30, 2023
   written objection to such claim. Any evidence supporting
   such objection should be submitted in the same manner as
         that required under Fed. R. Civ. P. 56 practice.


     Deadline for an entity having an objected claim to file a            April 29, 2023
    response, if any, to the claim objection(s). Any evidence
   supporting such Response should be submitted in the same
    manner as that required under Fed. R. Civ. P. 56 practice.


  Deadline for any party that filed a claim objection to file a            May 14, 2023
    reply, if any, in support of the claim objection(s). Any
  evidence supporting such Reply should be submitted in the



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                      Event/Deadline                                          Date
     same manner as that required under Fed. R. Civ. P. 56
                           practice.


   Deadline for the parties to mediate any claim objections.              June 8, 2023
  Notices of proposed settlements to be submitted to the Court
         within seven (7) days thereafter for approval.


    Court to conduct a status conference/pre-trial conference       June 22, 2023 at 2:00 pm
      regarding the claim objection. The parties should be          via telephonic conference
    prepared to inform the Court what discovery, if any, they
 believe is necessary for the presentment of their claim at final
    hearing. The parties should also announce whether they
   believe that their claim may be decided upon the submitted
  evidence or will require a hearing. The Court will consider
  approval of any proposed settlements of a claim objection at
                             this time.


The Court further

       ORDERS the Receiver to provide a copy of this Order to all claimants who have filed a

claim with the Receiver.

       SIGNED at Houston, Texas, on this the 28th day of February, 2023.




                                             ___________________________________________
                                             UNITED STATES DISTRICT JUDGE




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